Case 1:16-cv-00086-CG-MU Document 38 Filed 07/12/17 Page 1 of 1              PageID #: 296




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

 MICHAEL HENRY SMITH,                         )
                                              )
       Plaintiff,                             )
                                              )
 vs.                                          )   CIVIL ACTION NO. 16-0086-CG-C
                                              )
 ALPHABET INC., et al.,                       )
                                              )
       Defendants.                            )

                                      JUDGMENT

       In accordance with the order entered on this date, it is hereby ORDERED,

 ADJUDGED, and DECREED that this action is due to be, and hereby is,

 DISMISSED because Plaintiff has not proven, by a preponderance of the evidence,

 facts supporting the existence of diversity jurisdiction at the time of the filing of the

 amended complaint on April 22, 2016.

       DONE and ORDERED this 12th day of July, 2017.


                            /s/ Callie V. S. Granade
                            SENIOR UNITED STATES DISTRICT JUDGE
